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        Exhibit A
           Case 1:21-cv-02130-CJN Document 86-1 Filed 05/18/23 Page 2 of 7


From:             Jonathan Ross
To:               Greg Singer; Kimrey, Blaine C.
Cc:               Park, Jeanah; Clark, Bryan; Ledebuhr, Brian W.; John Lauro
Subject:          RE: Dominion v. Herring Networks, Inc., et al. (D.D.C.) - defense opposition to your planned motion to
                  consolidate
Date:             Thursday, May 18, 2023 9:37:00 AM
Attachments:      image001.png
                  image002.png


Understood. I have not heard further from Blaine and believe that the parties’ respective position is
clear, so absent someone saying there is something further to discuss I plan on filing our motion this
afternoon. I will state the defendants’ opposition and attach this correspondence as an exhibit, per
Blaine’s request.

Thanks.


From: Greg Singer <gsinger@laurosinger.com>
Sent: Wednesday, May 17, 2023 8:58 AM
To: Jonathan Ross <JROSS@SusmanGodfrey.com>; Kimrey, Blaine C. <bkimrey@vedderprice.com>
Cc: Park, Jeanah <jpark@vedderprice.com>; Clark, Bryan <bclark@vedderprice.com>; Ledebuhr,
Brian W. <bledebuhr@vedderprice.com>; John Lauro <jlauro@laurosinger.com>
Subject: RE: Dominion v. Herring Networks, Inc., et al. (D.D.C.) - defense opposition to your planned
motion to consolidate

EXTERNAL Email
Hi Jonathan,

Good to meet you by email. Ms. Bobb opposes consolidation and echoes Blaine’s thoughts, below.
We are available to confer as needed.

Greg


Gregory M. Singer                  Tampa 400 N. Tampa St. 15th Floor|Tampa, FL 33602
Partner | Admitted FL              T 813.222.8990 F 813.222.8991
gsinger@laurosinger.com            Miami 1101 Brickell Ave. 8th Floor|Miami, FL 33131
                                   New York 250 E. 53rd St. #1701|New York, NY 10022
                                   laurosinger.com




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message by mistake, please reply to this message and follow with its deletion, so that we can ensure such a
mistake does not occur in the future.


From: Jonathan Ross <JROSS@SusmanGodfrey.com>
Sent: Tuesday, May 16, 2023 7:36 PM
To: Kimrey, Blaine C. <bkimrey@vedderprice.com>
            Case 1:21-cv-02130-CJN Document 86-1 Filed 05/18/23 Page 3 of 7


Cc: Park, Jeanah <jpark@vedderprice.com>; Clark, Bryan <bclark@vedderprice.com>; Ledebuhr,
Brian W. <bledebuhr@vedderprice.com>; John Lauro <jlauro@laurosinger.com>; Greg Singer
<gsinger@laurosinger.com>
Subject: Re: Dominion v. Herring Networks, Inc., et al. (D.D.C.) - defense opposition to your planned
motion to consolidate

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recognize the sender and know the content is safe.

Happy to do so. And if you think there is something worth discussing I’m generally available this
evening or over the next two days.

Jonathan J. Ross
Partner & General Counsel
Susman Godfrey LLP
1000 Louisiana Suite 5100
Houston, Texas 77002
713-653-7813


           On May 16, 2023, at 6:30 PM, Kimrey, Blaine C. <bkimrey@vedderprice.com> wrote:

       ﻿
           EXTERNAL Email
           Mr. Ross –

           I’m not sure this email string satisfies the local meet and confer requirements.
           Regardless, if you proceed with filing the motion, please note in it that the defendants
           oppose any form of consolidation with the Byrne, Giuliani, Lindell, and Powell cases and
           that the defendants intend to file an opposition brief or briefs (given Christina Bobb is
           now separately represented) in response to your motion. Please also attach this email
           string to your motion.

           Kind regards,
           Blaine

           Blaine C. Kimrey, Shareholder
           National class and direct litigation and Chair, Privacy, Cybersecurity & Media Practice Group,
           CIPP/US, CIPP/E, CIPM


           VedderPrice
           T +1 312 609 7865
           Assistant: Deb Mullen +1 312 609 7583
           web | email | offices | biography


           From: Jonathan Ross <JROSS@SusmanGodfrey.com>
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Sent: Tuesday, May 16, 2023 2:43 PM
To: Kimrey, Blaine C. <bkimrey@vedderprice.com>
Cc: Park, Jeanah <jpark@vedderprice.com>; Clark, Bryan <bclark@vedderprice.com>;
Ledebuhr, Brian W. <bledebuhr@vedderprice.com>; John Lauro
<jlauro@laurosinger.com>; Greg Singer <gsinger@laurosinger.com>
Subject: RE: [EXT] RE: Dominion/OAN: Dominion's First RFPs to OAN & Scheduling
Order

Blaine and counsel:

I appreciate the straight-forward assertion of your position and believe I understand it.
I agree that given that the parties have not moved from the positions stated in the Joint
Meet and Confer Report that meeting and conferring would not advance the ball. We
will file a motion later this week updating our proposed schedule to match the now
entered schedule in the consolidated cases (see attached) as well as asking the Court to
consolidate this case with those cases for discovery purposes.

Jonathan


From: Kimrey, Blaine C. <bkimrey@vedderprice.com>
Sent: Monday, May 15, 2023 8:17 PM
To: Jonathan Ross <JROSS@SusmanGodfrey.com>
Cc: Park, Jeanah <jpark@vedderprice.com>; Clark, Bryan <bclark@vedderprice.com>;
Ledebuhr, Brian W. <bledebuhr@vedderprice.com>; John Lauro
<jlauro@laurosinger.com>; Greg Singer <gsinger@laurosinger.com>
Subject: RE: [EXT] RE: Dominion/OAN: Dominion's First RFPs to OAN & Scheduling
Order

EXTERNAL Email


Mr. Ross:

Nice to meet you; Defendants’ opposition to the consolidation Plaintiffs propose
remains.

Any effort by Plaintiffs to consolidate appears designed to prejudice our clients with an
unfairly truncated schedule that our clients had no role in negotiating and that our
clients don’t agree with. And the schedule in those other, separate cases fails to take
account of the procedural posture of our case. In our case, the parties have made no
Rule 26 disclosures, there is no scheduling order, and no written discovery was
propounded until last week (document requests). Our clients should not be lumped
together in a single consolidated schedule in cases we’ve had nothing to do with since
their filings. Moreover, as media defendants, our clients are fundamentally different
from Patrick Byrne, Rudy Giuliani, Mike Lindell, and Sidney Powell. And the presence of
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William Kennard, Staple Street Capital, and AT&T Services, Inc., as parties in our case
further distinguishes our case factually and legally (with associated differences in
appropriate discovery scope, witnesses, depositions, etc.) from the cases involving
Byrne, Giuliani, Lindell, and Powell.

The parties stated their positions in the Joint Meet and Confer Report Under Local Civil
Rule 16.3 and in the associated proposed orders. No further action is required at this
time. If for some reason you feel otherwise and still would like to meet and confer
about that, we can join a phone call to discuss. But we note that phone call should
include counsel for all parties (including William Kennard, Staple Street Capital, and
AT&T Services, Inc.). If you’d like to proceed with a call, please determine their
availability and then share your common availability with us to compare with our
calendars.

Thank you.

Kind regards,
Blaine

Blaine C. Kimrey, Shareholder
National class and direct litigation and Chair, Privacy, Cybersecurity & Media Practice Group,
CIPP/US, CIPP/E, CIPM


VedderPrice
T +1 312 609 7865
Assistant: Deb Mullen +1 312 609 7583
web | email | offices | biography


From: Jonathan Ross <JROSS@SusmanGodfrey.com>
Sent: Friday, May 12, 2023 1:27 PM
To: Park, Jeanah <jpark@vedderprice.com>; Clark, Bryan <bclark@vedderprice.com>;
Ledebuhr, Brian W. <bledebuhr@vedderprice.com>; jlauro@laurolawfirm.com; Kimrey,
Blaine C. <bkimrey@vedderprice.com>
Cc: Dominion ListserveSusmanGodfrey <dominion@lists.susmangodfrey.com>;
dominion@clarelocke.com
Subject: [EXT] RE: Dominion/OAN: Dominion's First RFPs to OAN & Scheduling Order

Counsel:

Following up on the below, may we schedule a meet and confer next week regarding
the pretrial schedule, or should I just file an updated proposed scheduling order and
note that the OAN defendants and Ms. Bobb oppose and continue to assert the
proposed schedule they previously filed? Absent some response by Tuesday of next
week I will go ahead and file our updated proposal with the Court.

Thanks, and enjoy your weekend.
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Jonathan


From: Jonathan Ross
Sent: Tuesday, May 9, 2023 2:37 PM
To: bkimrey@vedderprice.om; jpark@vedderprice.com; bclark@vedderprice.com;
bledebuhr@vedderprice.com; jlauro@laurolawfirm.com
Cc: Dominion ListserveSusmanGodfrey <dominion@lists.susmangodfrey.com>;
dominion@clarelocke.com
Subject: Dominion/OAN: Dominion's First RFPs to OAN & Scheduling Order

Counsel:

By way of introduction, I will be working on this case on Dominion’s behalf. My work
number is 713-653-7813 and my cell is 832-659-8126. Please feel free to reach out to
me with any issues you have as we move forward.

Attached is our first document production requests. We will also be sending a
proposed custodian list and search terms as you consider your response.

Also attached are the recent stipulated motion and proposed order to amend the
scheduling order in the other DC cases. My understanding is that Dominion and OAN
submitted competing scheduling orders, and the Court has yet to adopt either. I also
noticed that Ms. Bobb is now represented by Mr. Lauro – I welcome your views into
the mix.

Dominion’s position continues to be that all the DC cases should be consolidated for
discovery purposes: and I understand that OAN to date proposes proceeding on a
separate track. Would you be willing to meet and confer on the issue now that the
other parties have agreed on a schedule closer to what OAN has submitted to see if we
can come to an agreement, and if not, prompt the Court to rule so that we all know
how we will be proceeding as the case enters its discovery phase?

Looking forward to working with you all,


Jonathan Ross
Partner & General Counsel
Susman Godfrey LLP


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